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“-".».AO 440 [Re\'. RFD|} Sun'lmons ina Ci\'il Aelion

UN_;TED STATES DISTRICT CoURT

District of

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LL,LC,QET,`(-\ Depio‘i: V€lfeRM SUMMONS IN A ClviL ACTioN
D n role h V' Pa%i:as
CASF. NUMBER: 2 .' D 7-€_\/ -Q') 557-ii

TOZ {Name and address of Dei`cnda:\l} §I'M_ \\‘]-I:L\_\ D\ 50 k‘)
3\0 V€,rmor_\,+_ Fi\/F_. N W

WR:§l-\Iud.ro@ ,b C 61 O"FQ_O

YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF’S ATTORNE.Y maine and mmrcss)

an answer to the complaint which is served on you with this summons, within 65 0 days after service
ofthis summons on you, exclusive ofthe day of`service. lfyou fail to do so,juclgment by default will be taken against you
for the relief demanded in the complaintl Any answer that you serve on the parties to this action must be filed with the

Clerk of this Court within a reasonable period of time after service

mm.mn '5[,5{0,

CLERK c § / DATE

<Byz oEPurY CLERK ’

 

